Case 2

THE LAW OFFICES OF GAVRIL T. GABRIEL
8255 FIRESTONE BLVD., SUITE 209

DOWNEY, CA 90241

11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

;21-cv-00604-SB-MRW Document 12 Filed 02/05/21

Gavril T. Gabriel, Esq. [SBN: 296433]

THE LAW OFFICES OF GAVRIL T. GABRIEL
$255 Firestone Blvd., Suite 209

Downey, California 90241

Phone: (562) 758-8210
Fax: (562) 758-8219
Email: GGabriel@GTGLaw.Org

Attorney for PLAINTIFF,
ANDREW GARCIA

ANDREW GARCIA, an individual,
Plaintiff,

AMAZON.COM SERVICES LLC DBA
AMAZON FLEX, a_ Limited Liability
Company; AMAZON LOGISTICS, INC., a
Corporation; MICHAEL D. DEAL, an
individual; UDIT MADAN, an individual:
MICHAEL MILLER, an individual; JOHN
FELTON, an individual and DOES 1
through 60, inclusive,

Defendants.

 

 

 

Page 1 of 42 Page ID #:130

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CASE NO. 2:21-cv-00604-SB-MRW

FIRST AMENDED COMPLAINT FOR:

FAILURE TO PAY MINIMUM WAGE;
FAILURE TO PAY OVERTIME
COMPENSATION;

FAILURE TO PROVIDE REST BREAKS;

FAILURE TO PROVIDE MEAL BREAKS;

FAILURE TO INDEMNIFY/REIMBURSE

EXPENSES;

FAILURE TO PAY WAGES UPON ENDING

EMPLOYMENT;

WAITING TIME PENALTIES;

(8) FAILURE TO PROVIDE ACCURATE
ITEMIZED WAGE STATEMENTS;

(9) FAILURE TO MAINTAIN PAYROLL
RECORDS;

(10) FAILURE TO PRODUCE EMPLOYEE FILE;

(11) DISABILITY DISCRIMINATION;

(12) RETALIATION [Gov. Code, § 12940(h)];

(13) RETALIATION [Labor Code, § 1102.5];

(14) FAILURE TO PREVENT DISCRIMINATION
AND RETALIATION;

(15) FAILURE TO PROVIDE REASONABLE
ACCOMMODATION;

(16) FAILURE TO ENGAGE IN GOOD FAITH
INTERACTIVE PROCESS;

(17) UNFAIR AND UNLAWFUL BUSINESS
PRACTICES (in violation of Business &
Professions Code sections 17200 et seq.); and

(18) WRONGFUL TERMINATION [In Violation of

Public Policy].

(1)
(2)

(3)
(4)
(5)
(6)

(7)

Unlimited,
Jury Trial Demanded

Ai.

FIRST AMENDED COMPLAINT FOR DAMAGES

 
Case 2

THE LAW OFFICES OF GAVRIL T. GABRIEL
8255 FIRESTONE BLVD., SUITE 209
DOWNEY, CA 90241

10
1]
IZ
13
14
15
16
Li
18
19
20
21
22
23
24
Zo
26
ae
28

 

-21-cv-00604-SB-MRW Document 12 Filed 02/05/21 Page 2 of 42 Page ID #:131

COMES NOW PLAINTIFF, ANDREW GARCIA (hereafter referred to as “ANDREW

GARCIA” or “Plaintiff”), and complains and alleges as follows:
I. SUMMARY

This is an action by Plaintiff, ANDREW GARCIA, whose employment with Defendants
AMAZON.COM SERVICES LLC DBA AMAZON FLEX (“Amazon.com” or “Defendant”) and
AMAZON LOGISTICS, INC. (“Amazon” or “Defendant”) and MICHAEL D. DEAL, UDIT
MADAN, MICHAEL MILLER, JOHN FELTON was wrongfully terminated. Plaintiff brings this
action against Defendants for economic, non-economic, compensatory, and punitive damages,
pursuant to Code of Civil Procedure section 3291, and costs and reasonable attorney’s fees
pursuant to Government Code section 12965(b) and Code of Civil Procedure section 1021.5.

Il. PARTIES

he Plaintiff: Plaintiff is, and at all times relevant was, a resident of the County of Los
Angeles.
2. Defendants: Defendants Amazon.com, and DOES 1 through 10 (hereinafter

collectively referred to as “Defendants’”) are, and at all times relevant were, a Corporation
authorized to operate by the State of California and authorized and qualified to do business in the
County of Los Angeles. Defendants’ place of business, where the following causes of action took
place, was and is in the County of Los Angeles.

as Defendants Amazon and DOES 1 through 20 (hereinafter collectively referred to
as “Defendants”) are, and at all times relevant were, a Corporation authorized to operate by the
State of California and authorized and qualified to do business in the County of Los Angeles.
Defendants’ place of business, where the following causes of action took place, was and is in the
County of Los Angeles.

4, Individual Defendants: Defendants MICHAEL D. DEAL and DOES 21 through
30 are, and at all times relevant were, individuals who reside in Washington.

5; Individual Defendants: Defendants UDIT MADAN and DOES 31 through 40 are,
and at all times relevant were, individuals who reside in Washington.

6. Individual Defendants: Defendants MICHAEL MILLER and DOES 41 through

Du
FIRST AMENDED COMPLAINT FOR DAMAGES

 
Case 2

THE LAW OFFICES OF GAVRIL T. GABRIEL
8255 FIRESTONE BLVD., SUITE 209

DOWNEY, CA 9024]

11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

.21-Cv-00604-SB-MRW Document 12 Filed 02/05/21 Page 3 of 42 Page ID #:132

50 are, and at all times relevant were, individuals who reside in Washington.

7. Individual Defendants: Defendants JOHN FELTON and DOES 51 through 60
are, and at all times relevant were, individuals who reside in Washington.

8. Doe defendants: Defendants DOES 1 to 60, inclusive, are sued under fictitious
names pursuant to Code of Civil Procedure section 474. Plaintiff is informed and believes, and on
that basis alleges, that each of the Defendants sued under fictitious names is in some manner
responsible for the wrongs and damages alleged below, in so acting was functioning as the agent,
servant, partner, and employee of the Defendants, and in taking the actions mentioned below was
acting within the course and scope of his or her authority as such agent, servant, partner, and
employee, with the permission and consent of the co-Defendants. The named Defendants and Doe
Defendants are sometimes hereafter referred to, collectively and/or individually, as “Defendants.”

9. Relationship of Defendants: All Defendants compelled, coerced, aided, and/or
abetted the discrimination, retaliation, and harassment alleged in this Complaint, which conduct is
prohibited under California Government Code section 12940(i). All Defendants were responsible
for the events and damages alleged herein, including on the following bases: (a) Defendants
committed the acts alleged; (b) at all relevant times, one or more of the Defendants was the agent
or employee, and/or acted under the control or supervision of one or more of the remaining
Defendants and, in committing the acts alleged, acted within the course and scope of such agency
and employment and/or is or are otherwise liable for Plaintiff's damages; (c) at all relevant times,
there existed a unity of ownership interest between or among two or more of the Defendants such
that any individuality and separateness between or among those Defendants has ceased, and
Defendants are the alter egos of one another. Defendants exercised domination and control over
one another to such an extent that any individuality or separateness of Defendants does not, and at
all times herein mentioned did not, exist. Adherence to the fiction of the separate existence of
Defendants would permit abuse of the corporate privilege and would sanction fraud and promote
injustice. All actions of all Defendants were taken by employees, supervisors, executives,
officers, and directors during employment with all Defendants, were taken on behalf of all
Defendants, and were engaged in, authorized, ratified, and approved of by all other Defendants.

3.
FIRST AMENDED COMPLAINT FOR DAMAGES

 
Case 2

THE LAW OFFICES OF GAVRIL T. GABRIEL
8255 FIRESTONE BLVD., SUITE 209
DOWNEY, CA 90241

10
11
12
13
14
15
16
iia
18
19
20
21
22
23
24
25
26
27
28

*21-cv-00604-SB-MRW Document 12 Filed 02/05/21 Page 4 of 42 Page ID #:133

10. Defendants both directly and indirectly employed Plaintiff as defined in the Fair
Employment and Housing Act (“FEHA”) at Government Code section 12926(d).

11. In addition, Defendants compelled, coerced, aided, and abetted the discrimination,
harassment and retaliation which is prohibited under California Government Code section
12940(1).

12. Finally, at all relevant times mentioned herein, all Defendants acted as agents of
all other Defendants in committing the acts alleged herein.

13. Joint-Employment: Defendants Amazon.com and Amazon are joint-employers of
Plaintiff. Defendant Amazon.com is a franchisee of Defendant Amazon and had the right to
control the work of Plaintiff, and by and through Amazon, Amazon.com did in fact control
Plaintiff's duties. Plaintiff was employed by both Amazon.com and Amazon, based on the
following:

a. Amazon.com and Amazon supplied the equipment, tools, and place of work;

b. The work being done by Plaintiff was part of the regular business of Amazon.com
and Amazon;

c. Amazon.com and Amazon had the right to end their relationship with Plaintiff;

d. The work being done by Plaintiff was her only occupation or business;

e. The kind of work performed by Plaintiff is usually done under the direction of a
supervisor rather than by a specialist working without supervision; and

f. The kind of work performed by Plaintiff does not require specialized or
professional skill.

14. Finally, at all relevant times mentioned herein, all Defendants acted as agents of
all other Defendants in committing the acts alleged herein.

Il. ALTER EGO ALLEGATIONS

15. Plaintiff is informed and believes, and based thereon alleges, that some if not all,
of the corporations and entities named as Defendants herein, including but not limited to
Amazon.com, and DOES 1 through 10, ("ALTER EGO ENTITY/ENTITIES"), and each of them,
were at all times relevant, the ALTER EGO ENTITIES of the individual Defendants, MICHAEL

-4-
FIRST AMENDED COMPLAINT FOR DAMAGES

 

 
Case 2

THE LAW OFFICES OF GAVRIL T. GABRIEL
8255 FIRESTONE BLVD., SUITE 209

DOWNEY, CA 90241

11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

.21-Cv-00604-SB-MRW Document 12 Filed 02/05/21 Page 5of42 Page ID #:134

D. DEAL and DOES 21 through 30.

16. Plaintiff is informed and believes, and based thereon alleges, that some if not all,
of the corporations and entities named as Defendants herein, including but not limited to Amazon,
and DOES 11 through 20, ("ALTER EGO ENTITY/ENTITIES"), and each of them, were at all
times relevant, the ALTER EGO ENTITIES of the individual Defendants, UDIT MADAN,
MICHAEL MILLER, JOHN FELTON and DOES 31 through 60.

17. Alter Ego liability is appropriate when a corporation is used by an individual or
individuals, or by another corporation, to perpetrate a fraud, circumvent a statute, or accomplish
some other wrongful or inequitable purpose. A court may disregard the corporate entity and treat
the acts as if they were done by the individuals themselves. (Kohn v. Kohn (1950) 95 Cal.App.2d
708, 717-720.)

a. Plaintiff is informed and believes, and based thereon, alleges that at all times
herein mentioned, there existed and now exists 1) a unity of interest and ownership between said
individual Defendants MICHAEL D. DEAL, UDIT MADAN, MICHAEL MILLER, JOHN
FELTON and DOES 11 through 60, and ALTER EGO ENTITIES; and 2) the separateness of said
individual Defendants and each of the ALTER EGO ENTITIES has ceased and an inequitable
result will follow if the acts identified in this Complaint are treated as those of the corporation
alone. Crestmar Owner Assn. (2007) 157 CA4th 1223, 1232.

b. Plaintiff is informed and believes, and based thereon alleges, that at all times
herein mentioned, Amazon.com and Amazon were closely held companies.

c. Plaintiff is informed and believes, and based thereon alleges, that at all times
herein mentioned, Defendant MICHAEL D. DEAL dominated, influenced, and controlled
Amazon.Com, as Defendant MICHAEL D. DEAL is a managing member of Amazon.com.

d. Plaintiff is informed and believes, and based thereon alleges, that at all times
herein mentioned, Defendants UDIT MADAN, MICHAEL MILLER, JOHN FELTON
dominated, influenced, and controlled Amazon, as Defendants UDIT MADAN, MICHAEL
MILLER, JOHN FELTON are the owners, shareholders, chief executive officers, secretaries,
chief financial officers, directors, and managers of Amazon.

-5-
FIRST AMENDED COMPLAINT FOR DAMAGES

 

 
Case 2

THE LAW OFFICES OF GAVRIL T. GABRIEL
8255 FIRESTONE BLVD., SUITE 209

DOWNEY, CA 90241

10
11
12
13
14
15
16
Ae
18
ip
20
21
22
ZA
24
25
26
27
28

-21-Cv-00604-SB-MRW Document 12 Filed 02/05/21 Page 6 of 42 Page ID #:135

es By virtue of the foregoing, adherence to the fiction of the separate corporate
existence of each of the ALTER EGO ENTITIES would, under the circumstance, produce an
unequitable result in that Defendant MICHAEL D. DEAL who made all major decisions for
Amazon.com, would not be held liable for his decisions made on behalf of Amazon.com. These
facts demonstrate that Amazon.com and DOES 1 through 10 were simply the alter ego of
Defendant MICHAEL D. DEAL and DOES 21 through 30, so that Defendant MICHAEL D.
DEAL, is individually responsible for all damages, including but not limited to damages,
penalties, interest, attorney’s fees, and costs due and owing to Plaintiff.

f. By virtue of the foregoing, adherence to the fiction of the separate corporate
existence of each of the ALTER EGO ENTITIES would, under the circumstance, produce an
unequitable result in that Defendants UDIT MADAN, MICHAEL MILLER, JOHN FELTON
who made all major decisions for Amazon, would not be held liable for his decisions made on
behalf of Amazon. These facts demonstrate that Amazon and DOES 11 through 20 were simply
the alter ego of Defendants UDIT MADAN, MICHAEL MILLER, JOHN FELTON and DOES
31 through 60, so that Defendants UDIT MADAN, MICHAEL MILLER, JOHN FELTON are
individually responsible for all damages, including but not limited to damages, penalties, interest,
attorney’s fees, and costs due and owing to Plaintiff.

g. Plaintiff is informed and believes, and based thereon alleges, that at all times
herein mentioned, the individual Defendants dominated, influenced, and controlled each of the
ALTER EGO ENTITIES and the officers/members thereof, as well as the business, property, and
affairs of each of said entities.

h. Plaintiff is informed and believes, and based thereon alleges, that at all times
since the initiation of each, each ALTER EGO ENTITY has been and now is a mere shell, which
said individual Defendants used as a conduit for the conduct of his/her/their personal business,
property, and affairs.

i. Plaintiff is informed and believes, and based thereon alleges, that at all times
herein mentioned, each of the ALTER EGO ENTITIES were created pursuant to a fraudulent
plan, scheme and device, conceived and operated by said individual Defendants, whereby the

hie
FIRST AMENDED COMPLAINT FOR DAMAGES

 

 
Case 2

THE LAW OFFICES OF GAVRIL T. GABRIEL
8255 FIRESTONE BLVD., SUITE 209

DOWNEY, CA 90241

11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
77
28

*21-cv-00604-SB-MRW Document 12 Filed 02/05/21 Page 7 of 42 Page ID #:136

income, revenue and profits of each of the ALTER EGO ENTITIES were diverted by said
individual Defendants to himself/herself/themselves.

iF Plaintiff is informed and believes, and based thereon alleges, that at all times
herein mentioned, each of the ALTER EGO ENTITIES were organized by said individual
Defendants as a device to avoid individual liability and for the purpose of substituting financially
irresponsible entities in the place and stead of said individual Defendants, and each of them, and
accordingly, each ALTER EGO ENTITY was formed with capitalization totally inadequate for
the business in which said corporation was engaged.

k. Plaintiff is informed and believes, and based thereon alleges, that at all times
herein mentioned, each of the ALTER EGO ENTITIES and the individual Defendants committed
the following wrongful acts: 1) commingled funds and other assets; 2) failed to segregate funds of
the individual and the corporation; 3) diverted corporate funds without authorization for anything
other than corporate purposes; 4) treatment by an individual of corporate assets as his own; 5)
failed to seek authority to issue stock or issue stock under existing authorization; 6) represented to
an individual that he is personally liable for corporate debts; 7) failed to maintain adequate
corporate minutes or records; 8) intermingled individual and corporate records; 9) ownership of
all stock by a single individual or family; 10) domination or control of the corporation by the
stockholders; 11) use of a single address for the individual and the corporation; 12) inadequate
capitalization of the corporation; 13) use of the corporation as a mere conduit for an individual's
business; 14) concealed ownership of the corporation; 15) disregarded formalities and failed to
maintain arm's-length transactions with the corporation; and 16) attempted to segregate liabilities
to the corporation.

L Plaintiff is informed and believes, and based thereon alleges, that each ALTER
EGO ENTITY is insolvent.

m. By virtue of the foregoing, adherence to the fiction of the separate corporate
existence of each of the ALTER EGO ENTITIES would, under the circumstances, sanction fraud
and promote injustice in that Plaintiff would be unable to realize any judgment in Plaintiff's favor.
HY

3.
FIRST AMENDED COMPLAINT FOR DAMAGES

 

 
Case 2

THE LAW OFFICES OF GAVRIL T. GABRIEL
8255 FIRESTONE BLVYD., SUITE 209

Downey, CA 90241

1]
12
13
14
15
16
17
18
19
20
eal
22
23
24
25
26
27
28

»21-Cv-00604-SB-MRW Document 12 Filed 02/05/21 Page 8 of 42 Page ID #:137

IV. PERSONAL LIABILITY OF OWNER, DIRECTOR, OFFICER, OR MANAGING
AGENT OF THE EMPLOYER PURSUANT TO CALIFORNIA LABOR CODE
SECTION 558.1 ET SEQ.

18. Pursuant to California Labor Code sections 558.1 et seq., "any employer or other
person acting on behalf of an employer, who violates, or causes to be violated, any provision
regulating minimum wages or hours and days of work in any order of the Industrial Welfare
Commission, or violates, or causes to be violated, sections 203, 226, 226.7, 1193.6, 1194, or
2802, may be held liable as the employer for such violation."

19. Pursuant to California Labor Code sections 558.1 et seq., "the term other person
acting on behalf of an employer is limited to a natural person who is an owner, director, officer, or
managing agent of the employer."

20. Plaintiff is informed and believes that MICHAEL D. DEAL, UDIT MADAN,
MICHAEL MILLER, JOHN FELTON and DOES 31 through 60 are owners, directors, officers,
or managing agents of the employers, Amazon.com and DOES 1 through 10 and Amazon and
DOES 21 through 30.

21. Plaintiff has alleged violations of Labor Code sections 203, 226, 226.7, 1193.6,
and/or 1194.

22. Pursuant to Labor Code sections 558.1 et seq., Plaintiff alleges personally liability
against MICHAEL D. DEAL, UDIT MADAN, MICHAEL MILLER, JOHN FELTON and
DOES 31 through 60 with respect to the causes of action relating to Labor Code sections 203,
226, 226.7, 1193.6, and/or 1194.

V. VENUE AND JURISDICTION

23, Venue is proper in Los Angeles County because Defendants employed Plaintiff in

Los Angeles County, and the acts complained of herein occurred in Los Angeles County.
VI. FACTS COMMON TO ALL CAUSES OF ACTION

24. Plaintiff's hiring: Amazon.com Services, Inc. (hereafter “Defendant” or
“Amazon.com”) and Amazon Logistics, Inc. (referred to as “Amazon” or “Defendant”) hired
Andrew Garcia (hereafter referred to as “Plaintiff” or “Mr. Garcia”) as a delivery driver on or

-2-
FIRST AMENDED COMPLAINT FOR DAMAGES

 

 
Case 2:

THE LAW OFFICES OF GAVRIL T. GABRIEL
8255 FIRESTONE BLVD., SUITE 209

DOWNEY, CA 90241]

10
11
12
13
14
15
16
9
18
19
20
21
22
23
24
25
26
27
28

21-cv-00604-SB-MRW Document 12 Filed 02/05/21 Page 9of42 Page ID #:138

around September 3", 2019. Plaintiffs job duties included picking up packages from warehouses
and delivering them to customers.

25, Plaintiff's payment was based on the workload he performed. During the entire
time Plaintiff worked for Defendants, he was misclassified as an independent contractor, earning
in total the gross amount of $3,327.00. However, Plaintiff had to cover all expenses, like mileage,
on his own causing him to ultimately earn around $5.00 per hour.

26. Throughout his employment with Defendant, Plaintiff performed his duties
efficiently, diligently, punctually and to the best of his abilities. Plaintiff never received below
100% in his weekly performance reports. Plaintiff completed 100% of his assigned workload
every week.

ZT. On average, Plaintiff worked five (5) to six (6) hours per day. Throughout his
employment, Plaintiff also worked overtime for about 10 hours in total without receiving
overtime compensation Defendant justified the non-overtime payment by invoking Plaintiffs
employment status. Similarly, Plaintiff, as well as other employees, did not receive any benefits,
like sick pay. Plaintiff was also denied his rest and meal breaks.

28. On October 24, 2019, Plaintiff had a car accident where his car was totally
damaged. Defendants denied Plaintiff any insurance coverage for the car loss, on the grounds that
Mr. Garcia was working as an independent contractor. Plaintiff had to pay for the loss of his car
and junk it for $500. Plaintiff had to get a new car, for which he paid $2,000. In addition, Plaintiff
had to pay for gas, tires and oil changes, and for having a tow truck take his car to the yard. In the
time period between the day of accident and the day of termination, Plaintiff was making attempts
to have his car fixed. At the same time, Plaintiff complained daily to Defendants about the fact
that it was not covering the damages to the car. Despite his constant efforts, Plaintiff did not
receive even a partial reimbursement for all these expenses from the company.

29. Plaintiff sustained several injuries to his neck, back (back muscles, spine and
spinal cord) and his shoulders during the accident. Plaintiff needed medical treatment which
Defendant explicitly refused to cover. Plaintiff could not afford the medical expenses and, as a
result, he was unable to see a doctor.

-9-
FIRST AMENDED COMPLAINT FOR DAMAGES

 

 
Case 2:21-cv-00604-SB-MRW Document 12 Filed 02/05/21 Page 10 of 42 Page ID #:139

THE LAW OFFICES OF GAVRIL T. GABRIEL
8255 FIRESTONE BLVD., SUITE 209

DOWNEY, CA 90241]

10
1]
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

30. Almost immediately after the accident, Plaintiff called Defendants and spoke with
Hannah from the Amazon Flex Escalations team. Plaintiff explained to Hannah that he had been
in an accident, he was injured and his car was totaled. As a result, he would not be able to
perform his job duties. Plaintiff was told by Defendants that he had packages in his car that still
needed to be delivered. Defendants instructed Plaintiff to deliver those despite the accident. After
the accident, Plaintiff paid a tow truck to get the car back to the warehouse where he left the
packages and told someone else to deliver the remaining packages.

31. From October 24 2019, the day of the accident, to November 3, 2019, the date
of his termination, Plaintiff was absent from work as he was in pain and recovering.

a2. On November 3, 2019, Plaintiff received a termination notice from Defendants.
Plaintiff received an email stating that a customer never received his package. Plaintiff refused
that assertion claiming that he had always performed his job duties and had weekly reports to
prove it. Defendants gave insufficient explanation for Plaintiffs termination. Defendants did not
even specify the date on which the customer supposedly did not receive their package.

33. Plaintiff asserts that his termination was due to retaliation for his previous
complaints to the company about its refusal to cover his car loss expenses and in discrimination
due to Plaintiff's disability.

34. On December 17, 2019, Plaintiff filed an action with a small claims court against
Defendants alleging property damages. The hearing was conducted on February 18, 2020. On
March 17, 2020, Plaintiff received a favorable final judgement in the amount of $1,200.00. Even
though Plaintiff was formally employed as an independent contractor, the Court considered the
surrounding circumstances of his employment and concluded that Plaintiff must be treated as an
employee of Defendants for purposes of the Labor Code. Because of Defendants’ wrongful
conduct, Plaintiff has been suffering from sadness, depression, anger, stress, anxiety and
frustration. After the accident, Plaintiff did not have a car for a week approximately, since
Defendants refused to cover his car loss. This rendered the performance of Plaintiff's job duties
even harder. Plaintiff has suffered both economic and non-economic damages on a continuous
and ongoing basis, including, costs, attorney’s fees and interest as a result of Defendants’

-10-
FIRST AMENDED COMPLAINT FOR DAMAGES

 
Case 2:21-cv-00604-SB-MRW Document12 Filed 02/05/21 Page 11o0f42 Page ID#:140

THE LAW OFFICES OF GAVRIL T. GABRIEL
8255 FIRESTONE BLVD., SUITE 209

Downey, CA 90241

10
1]
12
13
14
IS
16
17
18
19
20
21
22
23
24
25
26
27
28

 

wrongful conduct.

35, Plaintiff believes, and based thereon alleges, that he was terminated because of
his disability in furtherance of continuous and ongoing discrimination, harassment and retaliation.
Plaintiff did not receive his final paycheck until approximately one week after he was terminated.

36. As a result of Defendants’ unlawful conduct, Plaintiff has suffered damages
resulting in lost benefits, lost income and lost wages owed to him.

37. This is an action brought by Plaintiff, against Defendants, alleging, inter alia, (1)
Failure to Pay Minimum Wage: (2) Failure to Pay Overtime Compensation; (3) Failure to Provide
Rest Breaks; (4) Failure to Provide Meal Breaks; (5) Failure to Indemnify/Reimburse Expenses:
(6) Failure to Pay Wages Upon Ending Employment; (7) Waiting Time Penalties; (8) Failure To
Provide Accurate Itemized Wage Statements; (9) Failure To Maintain Payroll Records; (10)
Failure To Produce Employee File; (11) Disability Discrimination; (12) Retaliation [Gov. Code, §
12940(h)|; (13) Retaliation [Labor Code, § 1102.5]; (14) Failure to Prevent Discrimination and
Retaliation; (15) Failure to Provide Reasonable Accommodation; (16) Failure to Engage in Good
Faith Interactive Process; (17) Unfair and Unlawful Business Practices; and (18) Wrongful
Termination (In Violation of Public Policy).

38. Economic damages: As a consequence of Defendants’ conduct, Plaintiff has
suffered and will suffer harm, including lost past and future income and employment benefits,
damage to his career, and lost wages, overtime, unpaid expenses, and penalties, as well as interest
on unpaid wages at the legal rate from and after each payday on which those wages should have
been paid, in a sum to be proven at trial.

39. Non-economic damages: As a consequence of Defendants’ conduct, Plaintiff has
suffered and will suffer psychological and emotional distress, humiliation, mental pain and
physical pain and anguish, in a sum to be proven at trial.

40. Punitive damages: Defendants’ conduct constitutes oppression, fraud, and/or
malice under California Civil Code section 3294 and, thus, entitles Plaintiff to an award of
exemplary and/or punitive damages.

a. Malice: Defendants’ conduct was committed with malice within the meaning of

-11-
FIRST AMENDED COMPLAINT FOR DAMAGES

 
Case 2:

THE LAW OFFICES OF GAVRIL T. GABRIEL
8255 FIRESTONE BLVD., SUITE 209
DOWNEY, CA 90241

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

¢1-cv-00604-SB-MRW Document 12 Filed 02/05/21 Page 12 of 42 Page ID #:141

California Civil Code section 3294, including that (a) Defendants acted with intent to cause injury
to Plaintiff and/or acted with reckless disregard for Plaintiff's injury, including by terminating
Plaintiffs employment and/or taking other adverse job actions against Plaintiff because of his
disability, and/or (b) Defendants’ conduct was despicable and committed in willful and conscious
disregard of Plaintiffs rights, health, and safety, including Plaintiffs right to be free of
discrimination, retaliation, and wrongful employment termination.

b. Oppression: In addition, and/or alternatively, Defendants’ conduct was
committed with oppression within the meaning of California Civil Code section 3294, including
that Defendants’ actions against Plaintiff because of his disability were “despicable” and
subjected Plaintiff to cruel and unjust hardship, in knowing disregard of Plaintiff's rights to a
work place free of discrimination, retaliation, and wrongful employment termination.

CG Fraud: In addition, and/or alternatively, Defendants’ conduct, as alleged, was
fraudulent within the meaning of California Civil Code section 3294, including that Defendants
asserted false (pretextual) grounds for terminating Plaintiff's employment and/or other adverse
job actions, thereby to cause Plaintiff hardship and deprive him of legal rights.

d. Defendants, and their managing agents, officers, and/or directors, including Syed
M., who terminated Plaintiff, authorized or ratified the wrongful conduct of its employees, and/or
are liable of oppression, fraud, or malice.

41. Attorney's fees: Plaintiff has incurred and continues to incur legal expenses and
attorney’s fees.

42. Plaintiff has adequately exhausted all of his administrative remedies under FEHA
and obtained a “Right to Sue” letter from the Department of Fair Employment and Housing

against Defendants. (A true and correct copy of Plaintiff's “Right to Sue” letter is attached hereto

as Exhibit “A”).
VII. FIRST CAUSE OF ACTION
(Failure to Pay Minimum Wage (Labor Code, § 1197))
(Against All Defendants)
43. Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs 1

through 42 of this Complaint as though fully set forth herein.

wf Be
FIRST AMENDED COMPLAINT FOR DAMAGES

 

 
Case 2:21-cv-00604-SB-MRW Document 12 Filed 02/05/21 Page 13 of 42 Page ID #:142

THE LAW OFFICES OF GAVRIL T. GABRIEL
§255 FIRESTONE BLVD., SUITE 209

DOWNEY, CA 90241

11
12
13
14
15
16
[7
18
19
20
21
22
23
24
25
26
a7
28

44. Labor Code section 1197 provides “the minimum wage for employees fixed by
the commission is the minimum wage to be paid to employees, and the payment of a less wage
than minimum wage so fixed is unlawful.”

45. Defendants failed to perform their obligations to compensate Plaintiff at least
minimum wage for all hours worked through actions alleged herein, including failing to pay
proper compensation for all hours worked, and time worked during missed and/or interrupted rest
periods.

46. As a direct result of Defendants’ Labor Code violations, Plaintiff has suffered
losses related to the use and enjoyment of compensation due and owing to him.

47. As a result of the unlawful acts of Defendants, Plaintiff is entitled to recovery of
such unpaid wage amounts, penalties, plus interest and penalties thereon, attorney’s fees and costs
pursuant to Labor Code section 1197.

48. The damages caused by Defendants are well in excess of the minimum subject
matter jurisdictional amount of this Court and will be demonstrated according to proof.

WHEREFORE, Plaintiff demands judgment as hereafter set forth.

VII. SECOND CAUSE OF ACTION
(Failure to Pay Overtime Compensation (Labor Code, § 510))

(Against All Defendants)

49, Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs 1
through 48 of this Complaint as though fully set forth herein.

50. Plaintiff is informed and believes and based thereon alleges that California Labor
Code sections 1194 and 510 were in full force and effect, and binding upon Defendants,
throughout the course of his employment. Pursuant to Labor Code section 510(a), “Any work in
excess of eight (8) hours in one workday and any work in excess of forty (40) hours in any one
workweek... shall be compensated at the rate of no less than one and one-half times the regular

rate of pay for an employee.”

51. At all times relevant, Plaintiff was an employee of Defendants.
52. Plaintiff worked overtime hours while employed by Defendants. However,
é{ 3%

 

 

FIRST AMENDED COMPLAINT FOR DAMAGES

 
Case 2:21-cv-00604-SB-MRW Document 12 Filed 02/05/21 Page 14 0f 42 Page ID #:143

THE LAW OFFICES OF GAVRIL T. GABRIEL
8255 FIRESTONE BLVD., SUITE 209

DOWNEY, CA 90241

10
11
12
13
14
15
16
17
18
19
20
2]
22
23
24
25
26
a7
28

Plaintiff did not receive overtime compensation for all hours worked in excess of (8) hours per
workday or forty (40) hours per workweek. Thus, Defendants deprived Plaintiff of all overtime
compensation owed to him.

53. Defendants knew or should have known that Plaintiff regularly worked overtime
hours.

34. Defendants refused to compensate Plaintiff properly for all overtime hours worked,
in violation of Labor Code section 510.

Dole As a result of Defendants’ failure to provide Plaintiff proper overtime
compensation, Plaintiff has been harmed in that he has been denied full compensation owed to
him.

56. As a result of the unlawful acts of Defendants, Plaintiff is entitled to recovery of
such unpaid wage amounts, plus interest and penalties thereon, attorney’s fees and costs of suit
pursuant to Labor Code sections 218.5, 218.6, and 1194.

57. The damages caused by Defendants are well in excess of the minimum subject
matter jurisdictional amount of this Court and will be demonstrated according to proof.

WHEREFORE, Plaintiff demands judgment as hereafter set forth.

IX. THIRD CAUSE OF ACTION
(Failure to Provide Rest Breaks (Labor Code, § 226.7))

(Against All Defendants)

58. Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs 1
through 57 of this Complaint as though fully set forth herein.

58, California Labor Code section 226.7 requires an employer to pay an additional
hour of compensation for each workday in which an employee is prevented from taking his rest
breaks. Employees are entitled to a paid ten (10) minute rest break for every four (4) hours or
fraction thereof worked. Plaintiff consistently worked over four (4) hours per shift with no rest

breaks during the relevant statutory period.

60. At all times relevant, Plaintiff was an employee of Defendants.
61. Defendants failed to provide or allow Plaintiff timely rest breaks of not less than
-14.

 

 

FIRST AMENDED COMPLAINT FOR DAMAGES

 
Case 2:21-cv-00604-SB-MRW Document12 Filed 02/05/21 Page 15o0f42 Page ID#:144

Downey, CA 90241

THE LAW OFFICES OF GAVRIL T. GABRIEL
8255 FIRESTONE BLVD., SUITE 209

11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

ten (10) minutes for every four (4) hour work period as required by Labor Code section 226.7
during the relevant statutory period.

62. Throughout his employment with Defendants, Plaintiff was not consistently
provided with uninterrupted rest breaks, in violation of Labor Code section 226.7.

63. Plaintiff is informed and believes, and based thereon alleges, that Defendants
prohibited and/or prevented Plaintiff from taking his legally required rest breaks.

64. As a result of Defendants’ violations of Labor Code section 226.7, Plaintiff is
entitled to damages in an amount equal to one (1) hour of wages per workday in which Plaintiff
was prevented from taking his rest breaks, in a sum to be proven at trial, plus interest and
penalties thereon, attorney’s fees, and cost of suit, pursuant to Labor Code sections 218.5 and
218.6.

WHEREFORE, Plaintiff demands judgment as hereafter set forth.

X. FOURTH CAUSE OF ACTION
(Failure to Provide Meal Breaks (Labor Code, § 226.7))

(Against All Defendants)

65. Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs 1
through 64 of this Complaint as though fully set forth herein.

66. California Labor Code section 226.7 requires an employer to pay an additional
hour of compensation for each workday in which an employee is prevented from taking his meal
period. Employees are entitled to a meal period of at least thirty (30) minutes per five (5) hour
work period. Plaintiff consistently worked over five (5) hour shifts without being permitted or
allowed to take the proper duty free thirty (30) minute legally required meal period.

67. At all times relevant, Plaintiff was an employee of Defendants.

68. Throughout his employment with Defendants, Plaintiff did not receive a thirty
(30) minute lunch break, in violation of Labor Code section 226.7. Defendants also failed to
make and keep accurate time records recording meal periods provided to Plaintiff.

69. Plaintiff is informed and believes, and based thereon alleges, that Defendants
prohibited and/or prevented him from taking his legally required meal periods.

-15-
FIRST AMENDED COMPLAINT FOR DAMAGES

 
Case 2:21-cv-00604-SB-MRW Document12 Filed 02/05/21 Page 16 of 42 Page ID #:145

THE LAW OFFICES OF GAVRIL T. GABRIEL
8255 FIRESTONE BLVD., SUITE 209

DOWNEY, CA 90241

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

70. Further, Defendants instructed Plaintiff to clock out for his lunch break, even
though Plaintiff had to work through his break. Defendants did this in order to conceal their
violation of Labor Code section 226.7.

71. As a result of Defendants’ violations of Labor Code section 226.7, Plaintiff is
entitled to damages in an amount equal to one (1) hour of wages per workday in which Plaintiff
was prevented from taking his meal period(s), in a sum to be proven at trial, plus interest and
penalties thereon, attorney’s fees, and cost of suit, pursuant to Labor Code sections 218.5 and
218.6.

WHEREFORE, Plaintiff demands judgment as hereafter set forth.

XI. FIFTH CAUSE OF ACTION
(Failure to Indemnify/Reimburse Expenses to Employee (Labor Code, § 2802))
(Against All Defendants)

Tes Plaintiff realleges and incorporates by reference the allegations of paragraphs 1
through 71 of this Complaint as if fully set forth herein.

Ts Plaintiff is informed and believes and based thereon alleges that California Labor
Code section 2802 was in full force and effect, and binding upon Defendants, throughout the
course of his employment. Pursuant to Labor Code section 2802, an employer shall indemnify his
or her employee for all necessary expenditures or losses incurred by the employee in direct
consequence of the discharge of his or her duties, or of his or her obedience to the directions of
the employer.

74, At all times relevant, Plaintiff was an employee of Defendants.

TD. Throughout Plaintiff's employment, Plaintiff had to cover the necessary expenses
arising out of the performance of his employment.

76. In violation of Labor Code section 2802, Defendants never reimbursed Plaintiff
for said expenses.

77. California Labor Code sections 218 and 1194 establish an employee’s right to
recovery of unpaid wages, interest thereon, together with the costs of suit, and attorney fees.

78. Plaintiff is entitled to be compensated for all necessary expenses throughout his

ne:
FIRST AMENDED COMPLAINT FOR DAMAGES

 
Case 2:21-cv-00604-SB-MRW Document 12 Filed 02/05/21 Page 17 of 42 Page ID #:146

THE LAW OFFICES OF GAVRIL T. GABRIEL
8255 FIRESTONE BLVD., SUITE 209

DOWNEY, CA 90241

10
11
12
13
14
15
16
i7
18
19
20
21
22
23
24
25
26
27
28

 

employment with Defendants.

79, As a proximate result of Defendants’ conduct, Plaintiff has been denied all
compensation owed to him according to the Labor Code.

80. Defendants’ failure to provide Plaintiff all compensation owed to him was done
intentionally, in a malicious, oppressive, fraudulent manner, entitling Plaintiff to punitive
damages.

81. As a result of the unlawful acts of Defendants, Plaintiff is entitled to recovery of
such unpaid wage amounts, plus interest and penalties therein, attorney fees and costs pursuant to
Labor Code sections 218.5, 218.6, and 1194.

WHEREFORE, Plaintiff demands judgment as hereafter set forth.

XII. SIXTH CAUSE OF ACTION
(Failure to Pay Wages (Labor Code, § 201))

(Against All Defendants)

82. Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs 1
through 81 of this Complaint as though fully set forth herein.

83. Plaintiff is informed and believes and based thereon alleges that California Labor
Code sections 201, 203 and 510 were in full force and effect, and binding upon Defendants,
throughout the course of his employment.

84. At all times relevant, Plaintiff was an employee of Defendants.

85. Pursuant to Labor Code section 201(a), “If an employer discharges an employee,
the wages earned and unpaid at the time of discharge are due and payable immediately.”

86. Plaintiff, who was terminated by Defendants on or around November 3, 2019,
was entitled to receive all amounts owed to him on the date of his termination, including unpaid
minimum wage, rest period penalties, and overtime compensation, among other things.

87. Defendants did not provide Plaintiff with his final paycheck until approximately
two to three weeks after Plaintiff's termination. Further, Plaintiff's final paycheck did not include
all wages owed to him, including unpaid minimum wage, rest period penalties, meal period
penalties, and unpaid overtime compensation, among other things.

[7s
FIRST AMENDED COMPLAINT FOR DAMAGES

 
Case 2:21-cv-00604-SB-MRW Document12 Filed 02/05/21 Page 18 of 42 Page ID #:147

THE LAW OFFICES OF GAVRIL T. GABRIEL
8255 FIRESTONE BLVD., SUITE 209

DOWNEY, CA 90241

10
11
12
13
14
15
16
ly
18
19
20
Zl
22
23
24
Zo
26
27
28

 

88. Defendants refused and/or failed to promptly compensate Plaintiff all wages owed
to him on the date of his termination, in violation of Labor Code sections 201, 226.7 and 1194.

89. Defendants knew, or should have known, that Plaintiff was not timely provided
all amounts owed to him.

90. As a proximate cause of Defendants’ failure to provide Plaintiff all amounts owed
to him upon termination, Plaintiff has been harmed in that he has been denied full compensation
owed to him.

91, As a result of the unlawful acts of Defendants, Plaintiff is entitled to recovery of
such unpaid wage amounts, plus interest and penalties thereon, attorney’s fees and costs pursuant
to Labor Code sections 218.5, 218.6, and 1194.

92. The damages caused by Defendants are well in excess of the minimum subject
matter jurisdictional amount of this Court and will be demonstrated according to proof.

WHEREFORE, Plaintiff demands judgment as hereafter set forth.

XII. SEVENTH CAUSE OF ACTION
(Waiting Time Penalties (Labor Code, § 203))
(Against All Defendants)

93. Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs 1
through 92 of this Complaint as though fully set forth herein.

94, Plaintiff is informed and believes and based thereon alleges that California Labor
Code sections 201, 203 and 510 were in full force and effect, and binding upon Defendants,
throughout the course of his employment.

95. At all times relevant, Plaintiff was an employee of Defendants.

96. Plaintiff, who was terminated, was not provided all wages owed to him by
Defendants upon his termination, in violation of Labor Code section 201, which provides that if
an employer willfully fails to pay any wages of an employee who is discharged, the wages of the
employee shall continue as a penalty from the due date thereof at the same rate until paid (not to
exceed 30 days) or until an action is commenced.

97. California Labor Code sections 218 and 1194 establish an employee’s right to

-18-
FIRST AMENDED COMPLAINT FOR DAMAGES

 
Case 2:21-cv-00604-SB-MRW Document 12 Filed 02/05/21 Page 19 of 42 Page ID #:148

THE LAW OFFICES OF GAVRIL T. GABRIEL
8255 FIRESTONE BLVD., SUITE 209

Downey, CA 90241

10
1]
12
13
14
15
16
17
18
19
20
21
Ze
23
24
25
26
pa
28

 

recover unpaid wages, interest thereon, together with the costs of suit, and attorney’s fees.

98. However, Plaintiff's final paycheck did not include all amounts owed to Plaintiff,
such as unpaid overtime compensation, unpaid minimum wage, meal period penalties, or rest
period penalties, amongst other things, in violation of Labor Code section 201.

99, As a result of Defendants’ violation of Labor Code section 201, Plaintiff has been
harmed in that he has been deprived of all wages due and owing to him. Pursuant to Labor Code
section 203, Plaintiff is entitled to waiting time penalties.

100. Asa result of the unlawful acts of Defendants, Plaintiff is entitled to recovery of
such unpaid wage amounts, penalties, plus interest and penalties thereon, attorney’s fees and costs
pursuant to Labor Code sections 203, 218.5, 218.6 and 1194.

101. | The damages caused by Defendants are well in excess of the minimum subject
matter jurisdictional amount of this Court and will be demonstrated according to proof.

WHEREFORE, Plaintiff demands judgment as hereafter set forth.

XIV. EIGHTH CAUSE OF ACTION
(Failure to Provide Accurate Itemized Wage Statements (Labor Code, § 226(e)))
(Against All Defendants)

102. Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs 1
through 101 of this Complaint as though fully set forth herein.

103. At all times herein mentioned, Labor Code section 226 was in full force and
effect and was binding on Defendants. This statute requires an employer to provide an employee
an accurate itemized statement in writing showing, among other things, total hours worked by the
employee, all gross wages earned, and the correct applicable hourly rates.

104. — At all times relevant, Plaintiff was an employee of Defendants.

105. Throughout Plaintiff's employment, Defendants failed to provide Plaintiff with
accurate itemized statements accurately showing all hours worked, as well as all applicable
hourly rates in effect during the pay period and the corresponding number of hours worked at
each hourly rate by the employee, in violation of Labor Code section 226(e).

106. Plaintiff was damaged and injured as a result of Defendants’ violation of Labor

-19-
FIRST AMENDED COMPLAINT FOR DAMAGES

 
Case 2:21-cv-00604-SB-MRW Document 12 Filed 02/05/21 Page 20 of 42 Page ID #:149

8255 FIRESTONE BLVD., SUITE 209
DOWNEY, CA 90241

THE LAW OFFICES OF GAVRIL T. GABRIEL

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

Code section 226,

107. Pursuant to Labor Code section 226(e), Plaintiff is entitled to recover the greater
of all actual damages of fifty dollars ($50) for the initial pay period in which the violation occurs
and one hundred dollars ($100) per employee for each violation in subsequent pay periods not
exceeding an aggregate penalty of four thousand dollars ($4,000) and is entitled to an award of
costs and reasonable attorney’s fees.

WHEREFORE, Plaintiff demands judgment as hereafter set forth.

XV. NINTH CAUSE OF ACTION
(Failure to Maintain Payroll Records (Labor Code, § 1174))
(Against All Defendants)

108. Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs 1
through 107 of this Complaint as though fully set forth herein.

109. At all times herein mentioned, Labor Code section 1174 was in full force and
effect and was binding on Defendants.

110. Pursuant to Labor Code section 1174(d), Defendants are required to “keep, at a
central location in the state or at the plants or establishments at which employees are employed,
payroll records showing the hours worked daily by and the wages paid to... employees employed
at the respective plants or establishments. These records shall be kept... on file for not less than
three years.”

111. Atall times relevant, Plaintiff was an employee of Defendants.

112. Throughout Plaintiff's employment, Defendants did not keep Plaintiff's payroll
records, in violation of Labor Code section 1174.

113. Asa result of Defendants’ failure to maintain Plaintiff's payroll records, Plaintiff
has been harmed.

114. Plaintiff is informed and believes, and thereupon alleges, that Defendants have
either willfully destroyed, or willfully failed to keep such records in accordance to Labor Code
section 1174(d) in order to hide their Labor Code violations in the payment of wages, and
therefore are subject to a civil penalty of five hundred dollars ($500) pursuant to Labor Code

-20-
FIRST AMENDED COMPLAINT FOR DAMAGES

 
Case 2:21-cv-00604-SB-MRW Document12 Filed 02/05/21 Page 21 0f 42 Page ID #:150

THE LAW OFFICES OF GAVRIL T. GABRIEL
8255 FIRESTONE BLYD., SUITE 209
DOWNEY, CA 9024]

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

section 1174.5.

WHEREFORE, Plaintiff demands judgment as hereafter set forth.

XVI. TENTH CAUSE OF ACTION
(Failure to Produce Employee File (Labor Code, § 1198.5))
(Against Amazon.com and DOES 1 through 10)

115. Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs 1
through 114 of this Complaint as if fully set forth herein.

116. Pursuant to Labor Code section 1198.5, upon a written request from a current or
former employee, or his or her representative, the employer shall provide a copy of the personnel
records relating to an employee’s performance, or to any grievance concerning the employee, not
later than thirty (30) calendar days from the date the employer receives the request, unless the
current or former employee, or his or her representative, and the employer agree in writing to a
date beyond thirty (30) calendar days to produce a copy of the records, as long as the agreed-upon
date does not exceed thirty five (35) calendar days from the employer's receipt of the written
request.

117. On June 3, 2020, Plaintiff requested a copy of his employee file and payroll
records from Defendants. Defendants failed to comply with Plaintiff's request and never provided
Plaintiff with his employee file and payroll records.

118. Plaintiff is informed and believes, and thereupon alleges, that Defendants have
not allowed Plaintiff to inspect his personnel records in accordance to Labor Code section 1198.5
in order to hide their Labor Code violations in the payment of wages, and therefore are subject to
a civil penalty of seven hundred and fifty dollars ($750) pursuant to Labor Code section
1198.5(k).

WHEREFORE, Plaintiff demands judgment as hereafter set forth.

Hf
M1
I!
Ml

Sj.
FIRST AMENDED COMPLAINT FOR DAMAGES

 
Case 2:

THE LAW OFFICES OF GAVRIL T. GABRIEL
8255 FIRESTONE BLVD., SUITE 209
DOWNEY, CA 90241

11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
a
28

¢1-cv-00604-SB-MRW Document12 Filed 02/05/21 Page 22 of 42 Page ID #:151

XVII. ELEVENTH CAUSE OF ACTION
(Disability Discrimination (In Violation of FEHA))
(Against Amazon.com, Amazon, and DOES 1 through 20)

119. Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs 1
through 118 of this Complaint as if fully set forth herein.

120. At all times mentioned herein, Defendants employed five or more persons, and
Government Code sections 12900 et seq., were in full force and effect and binding on Defendants.
These sections require Defendants to refrain from discriminating against any employee due to an
employee’s possession of a physical disability pursuant to section 12940(a). Further, these
sections require Defendants to refrain from discriminating against any employee for complaining
about discrimination pursuant to sections 12940(h) and 12940(j)(1).

121. Plaintiff is a member of a protected class within the meaning of Government
Code sections 12900 et seq.

122. At all times relevant, Plaintiff was an employee of Defendants.

123. Defendants were aware that Plaintiff had a disability or perceived Plaintiff as
disabled as defined by Government Code section 12926(m) in the form of an injury that limited
Plaintiff's major life activity.

124. Plaintiff was able to perform the essential job duties of his position at all times
mentioned herein with reasonable accommodation for his pain. Plaintiff sustained several injuries
to his neck, back (back muscles, spine and spinal cord) and his shoulders during the accident.

125. Plaintiff believes and based thereon alleges, that his possession of a disability, as
well as his exercising of his rights under FEHA, were factors in Defendants’ actions against
Plaintiff, which included Plaintiff's termination. Such discrimination is in violation of
Government Code sections 12940 ef seq., and has resulted in damage and injury to Plaintiff, as
alleged herein,

126. Within the time provided by law, Plaintiff filed a complaint with the California
Department of Fair Employment and Housing, in full compliance with FEHA section 2699.3 and
has received and served upon Defendants a Right to Sue letter.

127. As a proximate cause of Defendants’ willful, knowing, and _ intentional

PD:
FIRST AMENDED COMPLAINT FOR DAMAGES

 

 
Case 2:21-cv-00604-SB-MRW Document 12 Filed 02/05/21 Page 23 of 42 Page ID #:152

THE LAW OFFICES OF GAVRIL T. GABRIEL
8255 FIRESTONE BLVD., SUITE 209

DOWNEY, CA 9024]

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

discrimination against Plaintiff, Plaintiff has sustained, and continues to sustain, substantial losses
in earnings and other employee benefits.

128. As a direct and proximate cause of Defendants’ unlawful conduct, Plaintiff has
suffered and continues to suffer humiliation, emotional distress, physical pain and mental pain
and anguish, all to his damage in a sum according to proof.

129. Defendants’ discriminatory treatment against Plaintiff based upon his disability
was done intentionally, so as to cause injury to Plaintiff. Further, Defendants’ conduct was
despicable in that it was carried on by Defendants with a willful and conscious disregard of the
rights or safety of others, thereby constituting malice as defined by Civil Code section 3294.

130. Defendants’ discriminatory treatment against Plaintiff based upon his disability
was despicable, and subjected Plaintiff to cruel and unjust hardship by subjecting Plaintiff to
discriminatory and harassing conduct, as herein alleged, in conscious disregard of Plaintiff's
rights, thereby constituting oppression as defined by Civil Code section 3294.

131. | Defendants have acted in a malicious and oppressive manner by discriminating
against Plaintiff based upon his possession of a disability, entitling Plaintiff to punitive damages.

132. Plaintiff has incurred and continues to incur legal expenses and attorney’s fees.
Pursuant to Government Code section 12965(b), Plaintiff is entitled to recover reasonable
attorney’s fees and costs (including expert costs) in an amount according to proof.

133. | The damages caused by Defendants are well in excess of the minimum subject
matter jurisdictional amount of this Court and will be demonstrated according to proof.

WHEREFORE, Plaintiff demands judgment as hereafter set forth.

XVII. TWELFTH CAUSE OF ACTION
(Retaliation (Gov. Code, § 12940(h)))
(Against Amazon.com, Amazon, and DOES 1 through 20)

134. Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs 1
through 133 of this Complaint as if fully set forth herein.

135. At all times mentioned herein, Defendants employed five or more persons, and
Government Code sections 12900 et seq., were in full force and effect and binding on Defendants.

33.
FIRST AMENDED COMPLAINT FOR DAMAGES

 
Case 2:2

THE LAW OFFICES OF GAVRIL T. GABRIEL
8255 FIRESTONE BLVD., SUITE 209

DOWNEY, CA 90241

oOo SD

\o

10
11
12
13
14
15
16
7
18
19
20
21
22
23
24
25
26
oF
28

P

 

1-cv-00604-SB-MRW Document 12 Filed 02/05/21 Page 24 of 42 Page ID #:153

These sections require Defendants to refrain from retaliating against any employee due to
complaints the employee has made, pursuant to 12940(h).

136. Atall times relevant, Plaintiff was an employee of Defendants.

137. Plaintiff suffered an injury while performing his job duties. Plaintiff was
retaliated against for needing and requesting reasonable accommodation for his disability, such as
reasonable time off, and Defendant’s assistance in covering his medical expenses, in direct
violation of Government Code section 12940(h).

138. As a result of Defendants’ decision to discharge Plaintiff, Plaintiff has been
harmed.

139. As a proximate cause of Defendants’ willful, knowing, and intentional retaliation
against Plaintiff, Plaintiff has sustained, and continues to sustain, substantial losses in earnings
and other employee benefits.

140. As a direct and proximate cause of Defendants’ unlawful conduct, Plaintiff has
suffered and continues to suffer humiliation, emotional distress, physical pain and mental pain
and anguish, all to his damage in a sum according to proof.

141, Defendants’ retaliation against Plaintiff was done intentionally, so as to cause
injury to Plaintiff. Further, Defendants’ conduct was despicable in that it was carried on by
Defendants with a willful and conscious disregard of the rights or safety of others, thereby
constituting malice as defined by Civil Code section 3294.

142. Defendants’ retaliation against Plaintiff was despicable, and subjected Plaintiff to
cruel and unjust hardship by subjecting Plaintiff to wrongful employment termination, among
other things, as herein alleged, in conscious disregard of Plaintiff's rights, thereby constituting
oppression as defined by Civil Code section 3294.

143. Defendants have acted in a malicious and oppressive manner by retaliating
against Plaintiff, entitling Plaintiff to punitive damages.

144. Plaintiff has incurred and continues to incur legal expenses and attorney’s fees.
Pursuant to Government Code section 12965(b), Plaintiff is entitled to recover reasonable
attorney’s fees and costs (including expert costs) in an amount according to proof.

-24-
FIRST AMENDED COMPLAINT FOR DAMAGES

 
Case af

DOWNEY, CA 90241

THE LAW OFFICES OF GAVRIL T. GABRIEL
8255 FIRESTONE BLVD., SUITE 209

10
11
12
13
14
15
16
17
18
19
20
21
a
23
24
25
26
27
28

 

1-cv-00604-SB-MRW Document 12 Filed 02/05/21 Page 25 of 42 Page ID #:154

145. | The damages caused by Defendants are well in excess of the minimum subject
matter jurisdictional amount of this Court and will be demonstrated according to proof.

WHEREFORE, Plaintiff demands judgment as hereafter set forth.

XIX. THIRTEENTH CAUSE OF ACTION
(Retaliation for Engaging in Protected Activity (Labor Code, § 1102.5))
(Against Amazon.com, Amazon, and DOES 1 through 20)

146. Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs 1
through 145 of this Complaint as if fully set forth herein.

147. At all times mentioned herein, Defendants employed five or more persons, and
Labor Code section 1102.5 was in full force and effect and binding on Defendants. This section
requires Defendants to refrain from retaliating against any employee as a result of the employee's
opposition to practices forbidden by state or federal statute, or practices that violate or do not
comply with a local, state, or federal rule or regulation pursuant to Labor Code section 1102.5(c).

148. — At all times relevant, Plaintiff was an employee of Defendants.

149. On the basis above, Plaintiff believes and alleges that Defendants retaliated
against him for his complaints of discrimination and retaliation.

150. Plaintiff complained to Defendants of their failure to accommodate his disability.
Thereafter, Defendants retaliated against Plaintiff by terminating him, in major part because he
complained about having to perform his job duties despite his injuries. Such retaliation is a
violation of Labor Code section 1102.5.

151. Plaintiff's good-faith complaints to Defendants about FEHA violations under
Government Code section 12900 ef seqg., were motivating factors in Defendants’ decision to
terminate Plaintiff.

152. As a proximate result of Defendants’ willful, knowing, and intentional retaliation
against Plaintiff, Plaintiff has sustained and continues to sustain substantial losses of earnings and
other employment benefits.

153. As a proximate result of Defendants’ willful, knowing, and intentional unlawful
actions against Plaintiff, Plaintiff has suffered and continues to suffer humiliation, emotional

3S.
FIRST AMENDED COMPLAINT FOR DAMAGES

 
Case 2:21-cv-00604-SB-MRW Document 12 Filed 02/05/21 Page 26 of 42 Page ID #:155

THE LAW OFFICES OF GAVRIL T. GABRIEL
8255 FIRESTONE BLVD., SUITE 209

DOWNEY, CA 90241

10
11
12
13
14
15
16
17
18
it)
20
21
22
23
24
25
26
27
28

 

distress, physical pain and mental pain and anguish, all to his damage in a sum according to
proof.

154. | Defendants’ retaliation against Plaintiff was done intentionally, so as to cause
injury to Plaintiff. Further, Defendants’ conduct was despicable in that it was carried on by
Defendants with a willful and conscious disregard of the rights or safety of others, thereby
constituting malice as defined by Civil Code section 3294.

155. Defendants’ retaliation against Plaintiff was despicable, and subjected Plaintiff to
cruel and unjust hardship, as herein alleged, in conscious disregard of Plaintiff's rights, thereby
constituting oppression as defined by Civil Code section 3294.

156. Defendants have acted in a malicious, oppressive and fraudulent manner in their
retaliation against Plaintiff for engaging in protected activity, entitling Plaintiff to punitive
damages.

157. Plaintiff has incurred and continues to incur legal expenses and attorney’s fees.
Pursuant to Government Code section 12965(b), Plaintiff is entitled to recover reasonable
attorney’s fees and costs (including expert costs) in an amount according to proof.

158. The damages caused by Defendants are well in excess of the minimum subject
matter jurisdictional amount of this Court and will be demonstrated according to proof.

WHEREFORE, Plaintiff demands judgment as hereafter set forth.

XX. FOURTEENTH CAUSE OF ACTION
(Failure to Prevent Discrimination and Retaliation (Gov. Code, § 12940(k)))

(Against Amazon.com, Amazon, and DOES 1 through 20)

159. Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs 1
through 158 of this Complaint as if fully set forth herein.

160. At all times mentioned herein, Defendants employed five or more persons, and
Government Code sections 12900 ef seq., were in full force and effect and binding on Defendants.
These sections require Defendants to take all reasonable steps necessary to prevent
discrimination, harassment and retaliation from occurring pursuant to Government Code section
12940(k). Prior to filing this Complaint, Plaintiff filed a timely administrative charge with the

-26-
FIRST AMENDED COMPLAINT FOR DAMAGES

 
Case 2:21-cv-00604-SB-MRW Document 12 Filed 02/05/21 Page 27 of 42 Page ID #:156

L T. GABRIEL
.. SUITE 209

DownEyY, CA 90241

THE LAW OFFICES OF GAVRI
8255 FIRESTONE BLVD

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

DFEH and received a Right to Sue letter.

161. At all times relevant, Plaintiff was an employee of Defendants.

162. Throughout Plaintiff's employment with Defendants, Defendants failed to prevent
its employees from engaging in intentional actions that resulted in Plaintiff's being treated less
favorably because of Plaintiffs protected status (ie., his disability). During the course of
Plaintiffs employment, Defendants failed to prevent their employees from engaging in
unjustified employment practices against employees in such a protected class. Plaintiff has been
subjected to discrimination and retaliation, as herein described at the hands of Defendants and
Defendants’ agents.

163. Defendants failed to take all reasonable steps to prevent the discrimination and
retaliation faced by Plaintiff. As a result, Plaintiff was harmed.

164. Defendants’ failure to take all reasonable steps to prevent the discrimination and
retaliation was a substantial factor in causing Plaintiffs harm.

165. Plaintiff believes, and on that basis alleges, that his disability, and/or other
protected status and/or other protected activity were substantial motivating factors in Defendants’
discrimination and retaliation of Plaintiff.

166. As a proximate cause of Defendants’ willful, knowing, and intentional failure to
prevent discrimination and retaliation against Plaintiff, Plaintiff has sustained, and continues to
sustain, substantial losses in earnings and other employee benefits.

167. As a direct and proximate cause of Defendants’ unlawful conduct, Plaintiff has
suffered and continues to suffer humiliation, emotional distress, physical pain and mental pain
and anguish, all to his damage in a sum according to proof.

168. Defendants’ failure to prevent discrimination and retaliation was done
intentionally, so as to cause injury to Plaintiff. Further, Defendants’ conduct was despicable in
that it was carried on by Defendants with a willful and conscious disregard of the rights or safety
of others, thereby constituting malice as defined by Civil Code section 3294.

169. Defendants’ failure to prevent discrimination and retaliation against Plaintiff was
despicable, and subjected Plaintiff to cruel and unjust hardship by subjecting Plaintiff to said

72
FIRST AMENDED COMPLAINT FOR DAMAGES

 
Case “f

THE LAW OFFICES OF GAVRIL T. GABRIEL
8255 FIRESTONE BLVD., SUITE 209

DOWNEY, CA 90241

10
11
12
13
14
15
16
17
18
19
20
21
e
23
24
25
26
27
28

 

1-cv-00604-SB-MRW Document 12 Filed 02/05/21 Page 28 of 42 Page ID #:157

harassing, discriminatory and retaliatory conduct, as herein alleged, in conscious disregard of
Plaintiff's rights, thereby constituting oppression as defined by Civil Code section 3294.

170. Defendants have acted in a malicious and oppressive manner by failing to prevent
discrimination and retaliation against Plaintiff, entitling Plaintiff to punitive damages.

171. Plaintiff has incurred and continues to incur legal expenses and attorney’s fees.
Pursuant to Government Code section 12965(b), Plaintiff is entitled to recover reasonable
attorney’s fees and costs (including expert costs) in an amount according to proof.

172. The damages caused by Defendants are well in excess of the minimum subject
matter jurisdictional amount of this Court and will be demonstrated according to proof.

WHEREFORE, Plaintiff demands judgment as hereafter set forth.

XXI. FIFTEENTH CAUSE OF ACTION
(Failure to Provide Reasonable Accommodation (Gov. Code, § 12940(m)))
(Against Amazon.com, Amazon, and DOES 1 through 20)

173. Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs 1
through 172 of this Complaint as if fully set forth herein.

174. At all times mentioned herein, Defendants employed five or more persons, and
Government Code sections 12900 et seg., were in full force and effect and binding on Defendants.
These sections provide that it is an unlawful employment practice for Defendants to fail to
provide a reasonable accommodation for the known physical or mental disability of an employee
pursuant to section 12940(m)(1).

175. Atall times relevant, Plaintiff was an employee of Defendants.

176. Plaintiff had a physical disability as defined by Government Code section
12926(m), and as such, Plaintiff is a member of a protected class within the meaning of
Government Code sections 12900 ef seq. At all times material hereto, Plaintiff satisfactorily
performed his duties and responsibilities as required by Defendants.

177. While Plaintiff was employed with Defendants, Defendants were aware that
Plaintiff suffered from an actual or perceived disability. Plaintiff informed Defendants that he
needed reasonable accommodation and complained for not receiving it. Plaintiff had provided

-28-
FIRST AMENDED COMPLAINT FOR DAMAGES

 
Case 2:21-cv-00604-SB-MRW Document 12 Filed 02/05/21 Page 29 of 42 Page ID #:158

GABRIEL

8255 FIRESTONE BLVD., SUITE 209

THE LAW OFFICES OF GAVRIL T.

Downey, CA 90241

10
1]
12
I3
14
15
16
Ly
18
19
20
21
22
23
24
Zo
26
Zt
28

 

Defendants with his work restrictions.

178. Although Defendants knew of Plaintiff's physical disability, Defendants refused to
accommodate Plaintiff's disability upon Plaintiff's request, and instead terminated Plaintiff because
of his actual or perceived disability, in direct contravention of the FEHA, and specifically in
violation of California Government Code section 12940.

179. Plaintiff alleges that he was able to perform the essential job duties with reasonable
accommodation for his disability.

180. Defendants failed to provide reasonable accommodation for Plaintiff's disability.
Defendants’ failure to provide a reasonable accommodation was a substantial factor in causing
Plaintiff's harm.

181. As a proximate cause of Defendants’ willful, knowing, and intentional failure to
provide reasonable accommodation, Plaintiff has sustained, and continues to sustain, substantial
losses in earnings and other employee benefits.

182. As a direct and proximate cause of Defendants’ unlawful conduct, Plaintiff has
suffered and continues to suffer humiliation, emotional distress, physical pain and mental pain
and anguish, all to his damage in a sum according to proof.

183. Defendants’ failure to provide Plaintiff reasonable accommodation was done
intentionally, so as to cause injury to Plaintiff. Further, Defendants’ conduct was despicable in
that it was carried on by Defendants with a willful and conscious disregard of the rights or safety
of others, thereby constituting malice as defined by Civil Code section 3294.

184. Defendants’ failure to provide Plaintiff reasonable accommodation was
despicable, and subjected Plaintiff to cruel and unjust hardship by ignoring Plaintiff's work
restrictions and risking further harm to Plaintiff, in conscious disregard of Plaintiff's rights,
thereby constituting oppression as defined by Civil Code section 3294.

185. | Defendants have acted in a malicious and oppressive manner due to their failure
to provide Plaintiff reasonable accommodation, entitling Plaintiff to punitive damages.

186. Plaintiff has incurred and continues to incur legal expenses and attorney’s fees.
Pursuant to Government Code section 12965(b), Plaintiff is entitled to recover reasonable

0-
FIRST AMENDED COMPLAINT FOR DAMAGES

 
Case 2:21-cv-00604-SB-MRW Document 12 Filed 02/05/21 Page 30 of 42 Page ID #:159

GABRIEL

8255 FIRESTONE BLVD., SUITE 209

THE LAW OFFICES OF GAVRIL T.

DOWNEY, CA 90241

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

attorney’s fees and costs (including expert costs) in an amount according to proof.
187. The damages caused by Defendants are well in excess of the minimum subject
matter jurisdictional amount of this Court and will be demonstrated according to proof.

WHEREFORE, Plaintiff demands judgment as hereafter set forth.

XXII. SIXTEENTH CAUSE OF ACTION
(Failure to Engage in Good Faith Interactive Process (Gov. Code, § 12940(n)))
(Against Amazon.com, Amazon, and DOES 1 through 20)

188. Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs 1
through 187 of this Complaint as if fully set forth herein.

189. At all times mentioned herein, Defendants employed five or more persons, and
Government Code sections 12900 ef seq., were in full force and effect and binding on Defendants.
These sections provide that it is an unlawful employment practice for Defendants to fail to engage
in a timely, good faith interactive process with an employee to determine effective reasonable
accommodations in response to a request by an employee with a physical disability pursuant to
section 12940(n).

190. Atall times relevant, Plaintiff was an employee of Defendants.

191. Plaintiff had a physical disability as defined by California Government Code
section 12926(m), and as such, Plaintiff is a member of a protected class within the meaning of
Government Code sections 12900 et seq. At all times material hereto, Plaintiff satisfactorily
performed his duties and responsibilities as required by Defendants.

192. Defendants were aware that Plaintiff was disabled and required accommodations.
In fact, Plaintiff requested reasonable accommodations so that he would be able to perform his
essential job requirements.

193. Plaintiff was willing to participate in an interactive process to determine whether
reasonable accommodation could be made so that he would be able to perform his essential job
requirements.

194, Plaintiff is informed, believes, and therein alleges that at no time did Defendants
engage in any sort of interactive process, as required by California Government Code section

-30-
FIRST AMENDED COMPLAINT FOR DAMAGES

 
Case 2:21-cv-00604-SB-MRW Document12 Filed 02/05/21 Page 31 o0f 42 Page ID #:160

THE LAW OFFICES OF GAVRIL T. GABRIEL
8255 FIRESTONE BLVD., SUITE 209

DOWNEY, CA 9024]

10
11
iz
13
14
15
16
17
18
19
20
21
22
23
24
20
26
24
28

 

12940(n), to accommodate Plaintiff's known disability, and instead terminated his employment
upon requesting reasonable accommodations.

195. As a result of Defendants’ failure to engage in a good faith interactive process,
Plaintiff was harmed.

196. As a proximate cause of Defendants’ willful, knowing, and intentional failure to
engage in a good faith interactive process, Plaintiff has sustained, and continues to sustain,
substantial losses in earnings and other employee benefits.

197. As a direct and proximate cause of Defendants’ unlawful conduct, Plaintiff has
suffered and continues to suffer humiliation, emotional distress, physical pain and mental pain
and anguish, all to his damage in a sum according to proof.

198. Defendants’ failure to engage in a good faith interactive process was done
intentionally, so as to cause injury to Plaintiff. Further, Defendants’ conduct was despicable in
that it was carried on by Defendants with a willful and conscious disregard of the rights or safety
of others, thereby constituting malice as defined by Civil Code section 3294.

199. Defendants” failure to engage in a good faith interactive process was despicable,
and subjected Plaintiff to cruel and unjust hardship by ignoring Plaintiff's work restrictions and
risking further harm to Plaintiff, as herein alleged, in conscious disregard of Plaintiff's rights,
thereby constituting oppression as defined by Civil Code section 3294.

200. Defendants have acted in a malicious and oppressive manner by failing to engage
in a good faith interactive process to determine reasonable accommodation for Plaintiff, entitling
Plaintiff to punitive damages.

201. Plaintiff has incurred and continues to incur legal expenses and attorney’s fees.
Pursuant to Government Code section 12965(b), Plaintiff is entitled to recover reasonable
attorney's fees and costs (including expert costs) in an amount according to proof.

202. The damages caused by Defendants are well in excess of the minimum subject
matter jurisdictional amount of this Court and will be demonstrated according to proof.

WHEREFORE, Plaintiff demands judgment as hereafter set forth.
IH

31.
FIRST AMENDED COMPLAINT FOR DAMAGES

 
Case 2:

THE LAW OFFICES OF GAVRIL T. GABRIEL
8255 FIRESTONE BLVD., SUITE 209
DOWNEY, CA 90241

oOo SN

So oO

11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

5

 

1-cv-00604-SB-MRW Document 12 Filed 02/05/21 Page 32 of 42 Page ID #:161

XXIII. SEVENTEENTH CAUSE OF ACTION
(Unfair and Unlawful Business Practices (Bus. & Prof. Code, §§ 17200 ef seg.))
(Against Amazon.com, Amazon. and DOES 1 through 20)

203. Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs 1
through 202 of this Complaint as if fully set forth herein.

204. Plaintiff, on behalf of himself, brings these claims pursuant to Business &
Professions Code sections 17200 et seq. The conduct of Defendants as alleged in this Complaint
has been and continues to be unfair, unlawful, and harmful to Plaintiff and the general public.
Plaintiff seeks to enforce important rights affecting the public interest within the meaning of
California Code of Civil Procedure section 1021.5.

205. Plaintiff is a “person who has suffered injury in fact and has lost money or
property as a result of such unfair competition” within the meaning of Business & Professions
Code section 17204, in that he has been deprived of wages, and therefore has standing to bring
this cause for injunctive relief, restitution, and other appropriate equitable relief.

206. Business & Professions Code sections 17200 et seq., prohibit unlawful and unfair
business practices.

207. Wage and hour laws express fundamental public policies. Providing employees
with wages is also a fundamental public policy of this state and of the United States. California
Labor Code section 90.5(a) articulates the public policies of this State to enforce vigorously
minimum labor standards to ensure that employees are not required or permitted to work under
substandard and unlawful conditions, and to protect law abiding employers and their employees
from competitors who lower their cost by failing to comply with minimum labor standards,
including failing to properly compensate employees.

208. Defendants, beginning at an exact date unknown to Plaintiff, but at least since the
date four years prior to the filing of this suit, have committed acts of unfair competition as
defined by the Unfair Business Practice Act, and have violated statutes of public policies.
Through the conduct alleged in this Complaint, Defendants have acted contrary to these public

policies, have violated specific provisions of the Labor Code, and have engaged in other unlawful

39.
FIRST AMENDED COMPLAINT FOR DAMAGES

 
Case 2:

THE LAW OFFICES OF GAVRIL T. GABRIEL
8255 FIRESTONE BLVD., SUITE 209

DOWNEY, CA 90241

10
1]
IZ

14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

pr cv 00604-SB-MRW Document 12 Filed 02/05/21 Page 33 of 42 Page ID #:162

and unfair business practices in violation of Business & Professions Code sections 17200 er SEG.
depriving Plaintiff and all interested persons, of the benefits and privileges guaranteed to all
employees under law.

209, The conduct of said Defendants as alleged herein, constitutes unfair competition
in violation of section 17200 of the Business & Professions Code, in that Defendants have
violated Labor Code sections 201-203, 226, and 1194.

210. Defendants, by engaging in the conduct herein alleged, including but not limited
to, non-payment of all wages owed, failure to provide reasonable accommodation, and wrongful
employment termination, either knew, or in the exercise of reasonable care, should have known
that such conduct was unlawful and a violation of section 17200 of the Business & Professions
Code.

211. Unless restrained by this Court, Defendants will continue to engage in the
unlawful conduct as alleged above. Pursuant to Business & Professions Code sections 17200 ef
seq., this Court should make such orders or judgments, including the appointment of a receiver, as
may be necessary, to prevent unlawful employment practices by Defendants, their agents or
employees, of any unlawful or deceptive practice prohibited by the Business & Professions Code,
including but not limited to, restitution which may be necessary to restore Plaintiff and other
similarly situated employees, the wages Defendants have unlawfully failed to pay.

212. Plaintiff's success in this action will enforce important rights affecting the public
interest, and in that regard, Plaintiff sues on behalf of the general public as well as himself and
others similarly situated. Plaintiff is entitled to restitution, civil penalties, declaratory and
injunctive relief, and all other equitable remedies owing to him.

213. Plaintiff herein takes upon himself enforcement of the laws and lawful claims.
There is a financial burden involved in pursuing this action, as said action is seeking to vindicate
a public right, and it would be against the interests of justice to penalize Plaintiff by forcing him
to pay attorney’s fees from the recovery in this action. An award of attorney’s fees is appropriate
pursuant to Code of Civil Procedure section 1021.5 and otherwise.

WHEREFORE, Plaintiff demands judgment as hereafter set forth.

33.
FIRST AMENDED COMPLAINT FOR DAMAGES

 
Case 2:21-cv-00604-SB-MRW Document12 Filed 02/05/21 Page 34 of 42 Page ID#:163

GABRIEL

8255 FIRESTONE BLVD., SUITE 209

THE LAW OFFICES OF GAVRIL T.

DOWNEY, CA 90241

10
1]
12
13
14
ie
16
17
18
19
20
21
22
23
24
23
26
27
28

 

XXIV. EIGHTEENTH CAUSE OF ACTION
(Wrongful Termination (In Violation of Public Policy))
(Against Amazon.com, Amazon, and DOES | through 20)

214. Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs 1
through 213 of this Complaint as if fully set forth herein.

215. Atall times relevant, Plaintiff was an employee of Defendants.

216. ‘At all times herein mentioned in this Complaint, California Government Code
section 12940 ef seq., and California Constitution Article 1, Section 8, were in full force and
effect and were binding on the Defendants and the Defendants were subject to their terms, and
therefore Defendants were required to refrain from violations of public policy, including
discrimination on the account of Plaintiff's actual or perceived disability.

217. On or around November 3, 2019, Plaintiff was terminated by Defendants.

218. Plaintiff's disability, good faith complaints and exercising of his rights under
FEHA were substantial motivating reasons for Plaintiff's termination by Defendants. As a result
of Defendants’ unlawful conduct, Plaintiff has been harmed.

219. As a proximate cause of Defendants’ willful, knowing, and intentional wrongful
termination of Plaintiff, Plaintiff has sustained, and continues to sustain, substantial losses in
earnings and other employee benefits.

220. Asa direct and proximate cause of Defendants’ unlawful conduct, Plaintiff has
suffered and continues to suffer humiliation, emotional distress, physical pain and mental pain
and anguish, all to his damage in a sum according to proof.

221. Defendants’ wrongful termination of Plaintiff's employment was done
intentionally, so as to cause injury to Plaintiff. Further, Defendants’ conduct was despicable in
that it was carried on by Defendants with a willful and conscious disregard of the rights or safety
of others, thereby constituting malice as defined by Civil Code section 3294.

222. Defendants’ wrongful termination of Plaintiff's employment was despicable, and
subjected Plaintiff to cruel and unjust hardship, as herein alleged, in conscious disregard of
Plaintiff's rights, thereby constituting oppression as defined by Civil Code section 3294.

223. Defendants have acted in a malicious, oppressive and fraudulent manner in their

-34.
FIRST AMENDED COMPLAINT FOR DAMAGES

 
Case 2:21-cv-00604-SB-MRW Document12 Filed 02/05/21 Page 35 of 42 Page ID#:164

THE LAW OFFICES OF GAVRIL T. GABRIEL
8255 FIRESTONE BLVD., SUITE 209
DOWNEY, CA 90241

11
12
13
14
15
16
17
18
19
20
21
2?
23
24
25
26
ey
28

 

wrongful termination of Plaintiff, entitling Plaintiff to punitive damages.

224. Plaintiff has incurred and continues to incur legal expenses and attorney’s fees.
Pursuant to Government Code section 12965(b), Plaintiff is entitled to recover reasonable
attorney's fees and costs (including expert costs) in an amount according to proof.

225. The damages caused by Defendants are well in excess of the minimum subject
matter jurisdictional amount of this Court and will be demonstrated according to proof.

WHEREFORE, Plaintiff demands judgment as hereafter set forth.

PRAYER
WHEREFORE, Plaintiff prays for judgment for the following:
ON ALL CAUSES OF ACTION

I, For a money judgment representing compensatory damages including lost wages,
future loss wages, earnings, other employee benefits, civil penalties and all other sums of money,
together with interest on these amounts, according to proof at trial, but no less than $200,000.00;

Z General damages, according to proof and in an amount in excess of the
jurisdictional minimum of this Court, but no less than $500,000.00;

a For a money judgment for mental pain and anguish and emotional distress,

according to proof at trial;

4, All other special and incidental damages according to proof:

a. For an award of punitive damages, according to proof at trial:

6. For costs of suit incurred herein;

7, For attorney’s fees as provided by statute, including Labor Code sections 1194,

218.5 and California Government Code section 12965(b); and

8. For such other and further relief that the Court may deem just and proper.
DATED: February & , 2021 THE LAW OF ICES LT. GABRIEL
By:

 

Gavfil yt . Gaptiel. Esq.
Attorney ‘for PLAINTIFF, ANDREW GARCIA

-35-
FIRST AMENDED COMPLAINT FOR DAMAGES

 
Case 2:2

THE LAW OFFICES OF GAVRIL T. GABRIEL
8255 FIRESTONE BLVD., SUITE 209

DOWNEY, CA 90241

Co OD © SY DR

11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

|

 

1-cv-00604-SB-MRW Document 12 Filed 02/05/21 Page 36 of 42 Page ID #:165

DEMAND FOR JURY TRIAL

NOTICE IS HEREBY GIVEN that PLAINTIFF, ANDREW GARCIA, hereby demands

trial by jury in the above-entitled matter.

DATED: February = , 20201 THE LAW OFFICES OF GAVRIL/V. GABRIEL

By:

 

Gévril’T/ Gabrie Esq.
Attorney for PLAINJIFF, ANDREW GARCIA

-36-
FIRST AMENDED COMPLAINT FOR DAMAGES

 
ABRIEL
ITE 209

LAW OFFICES OF GAVRIL T.
8255 FIRESTONE BLVD

Case 2:21-cv-00604-SB-MRW Document12 Filed 02/05/21 Page 37 of 42 Page ID #:166

10
1]
12

]

13

T
SU
4

DOWNEY, CA 902

14
15
16
17
18
19
20
21
22
23
24
25
26

27 EXHIBIT A

28

 

EXHIBIT “A” ATTACHED TO COMPLAINT

 

 
Case 2:21-cv-00604-SB-MRW Document 12 Filed 02/05/21 Page 38 of 42 Page ID #:167

STATE OF CALIFORNIA | Business, Consumer Services and Housing Agency _ GAVIN NEWSOM, GOVERNOR

é Me
bie ssn wt
Ym | yy DEPARTMENT OF FAIR EMPLOYMENT & HOUSING ee
Ni as a Jp 2218 Kausen Drive, Suite 100 | Elk Grove | CA | 95758
WZ y (800) 884-1684 (Voice) | (800) 700-2320 (TTY) | California’s Relay Service at 711
rao http:/Avww.dfeh.ca.gov | Email: contact.center@dfeh.ca.gov

February 3, 2021

Gavril Gabriel
8255 Firestone Blvd., Suite 209
Downey, California 90241

RE: Notice to Complainant’s Attorney
DFEH Matter Number: 202009-11284217
Right to Sue: Garcia / Amazon.com Services LLC et al.

Dear Gavril Gabriel:

Attached is a copy of your amended complaint of discrimination filed with the
Department of Fair Employment and Housing (DFEH) pursuant to the California Fair
Employment and Housing Act, Government Code section 12900 et seq.

Pursuant to Government Code section 12962, DFEH will not serve these documents on
the employer. You or your client must serve the complaint.

The amended complaint is deemed to have the same filing date of the original
complaint. This is not a new Right to Sue letter. The original Notice of Case Closure
and Right to Sue issued in this case remains the only such notice provided by the
DFEH. (Cal. Code Regs., tit. 2, § 10022.)

Be advised that the DFEH does not review or edit the complaint form to ensure that it
meets procedural or statutory requirements.

Sincerely,

Department of Fair Employment and Housing
Case f:21-cv-00604-SB-MRW Document 12. Filed 02/05/21 Page 39 of 42 Page ID#:1

a

oOo 86 ON OD oOo B&B WwW Pp

Mm MW NW MH DM WH HF MH PO | = 6 os 4 ou un un 2a
on Oo on FF O68 Mb = FG oO wD NH DOD aA BR © PH 8

COMPLAINT OF EMPLOYMENT DISCRIMINATION
BEFORE THE STATE OF CALIFORNIA
DEPARTMENT OF FAIR EMPLOYMENT AND HOUSING
Under the California Fair Employment and Housing Act
(Gov. Code, § 12900 et seq.)

In the Matter of the Complaint of
Andrew Garcia DFEH No. 202009-11284217

Complainant,
vs.

Amazon.com Services LLC
410 TERRY AVE N
Seattle, Washington 98109

AMAZON LOGISTICS, INC.
410 TERRY AVE N
SEATTLE, Washington 98109

Respondents

 

1. Respondent Amazon.com Services LLC is an employer Amazon.com Services LLC
subject to suit under the California Fair Employment and Housing Act (FEHA) (Gov. Code, §
12900 et seq.).

2. Complainant is naming AMAZON LOGISTICS, INC. as individual Co-Respondent(s).
3. Complainant Andrew Garcia, resides in the City of Whittier, State of California.

4. Complainant alleges that on or about November 3, 2019, respondent took the
following adverse actions:

Complainant was harassed because of complainant's race, ancestry, national origin
(includes language restrictions), family care or medical leave (cfra) (employers of 50 or more
people), disability (physical or mental), other.

Complainant was discriminated against because of complainant's race, ancestry,
national origin (includes language restrictions), color, family care or medical leave (cfra)
(employers of 50 or more people), disability (physical or mental), other and as a result of the
discrimination was terminated, reprimanded, denied equal pay, suspended, denied any
employment benefit or privilege, denied reasonable accommodation for a disability, denied
family care or medical leave (cfra) (employers of 50 or more people), other, denied work
opportunities or assignments.

-1-

 

 

 

Complaint —- DFEH No, 202009-11284217

Date Filed: September 24, 2020
Date Amended: February 3, 2021

 
Case 2:21-cv-00604-SB-MRW Document 12 Filed 02/05/21 Page 40 of 42 Page ID#:1

oOo ON ODO oO kB wo YD =

NM MPM Ph / M MW PM PP PPO = = =e os ww Vu ys

Complainant experienced retaliation because complainant reported or resisted any form
of discrimination or harassment, requested or used a disability-related accommodation,
participated as a witness in a discrimination or harassment complaint, requested or used
leave under the california family rights act or fmla (employers of 50 or more people) and as a
result was terminated, denied hire or promotion, reprimanded, denied equal pay,

suspended, demoted, asked impermissible non-job-related questions, denied any
employment benefit or privilege, denied reasonable accommodation for a disability, denied
family care or medical leave (cfra) (employers of 50 or more people), other, denied work
opportunities or assignments.

Additional Complaint Details: Amazon.com Services, Inc. and Amazon Logistics Inc.
(hereafter “Defendant” or “Amazon”) hired Andrew Garcia (hereafter referred to as “Plaintiff”
or “Mr. Garcia”) as a delivery driver on or around September 3rd 2019. Plaintiff's job duties
included picking up packages from warehouses and delivering them to customers. Plaintiff's
payment was based on the workload he performed. During the entire time Plaintiff worked
for Amazon, he was misclassified as an independent contractor.

Throughout his employment with Defendant, Plaintiff performed his duties efficiently,
diligently, punctually and to the best of his abilities. Plaintiff never got below 100% in his
weekly performance reports. Plaintiff completed 100% of his assigned workload every week.
On average, Plaintiff worked 5-6 hours per day.

Plaintiff also worked overtime for about 10 days and for which he was not paid. Defendant
justified the non-overtime payment by invoking Plaintiffs employment status. Similarly,
Plaintiff, as well as other employees, did not receive any benefits, like sick pay. Plaintiff was
also denied his rest and meal breaks.

On October 24, 2019, Plaintiff had a car accident where his car was totally damaged.
Defendant denied Plaintiff any insurance coverage for the car loss, on the grounds that Mr.
Garcia was working as an independent contractor. Plaintiff had to pay for the loss of his car
and junk it for $500. Plaintiff had to get a new car, for which he paid $2,000. In addition,
Plaintiff had to pay for gas, tires and oil changes, and for having a tow truck take his car to
the yard. In the time period between the day of accident and the day of termination, Plaintiff
was making attempts to have his car fixed. At the same time, Plaintiff complained daily to
Defendant for the fact that it was not covering the damages to the car. Despite his constant
efforts, Plaintiff did not receive even a partial reimbursement for all these expenses from the
company.

Plaintiff sustained several injuries to his neck, back (back muscles, spine and spinal cord)
and his shoulders during the accident. Plaintiff needed medical treatment which Defendant
explicitly refused to cover. Plaintiff could not afford the medical expenses and, as a result,
he was unable to see a doctor.

Almost immediately after the accident Plaintiff was told by Defendant that he had packages

in his car that still needed to be delivered. Defendant instructed Plaintiff to deliver those
despite the accident. After the accident Plaintiff paid a tow truck to get the car back to the

D2.

 

 

 

Complaint — DFEH No. 202009-1 1284217

Date Filed: September 24, 2020
Date Amended: February 3, 2021

 
Case

=

oO Oo ON OD oO B&B WwW Pp

mm NH NM WM HR DW NM RO NR we mk ee lll UCU
oN Oo OF fF Oo NB |= GO DA NIN DOD HT BR WO HH =

warehouse where he left the packages and told someone else to deliver the remaining
packages. From October 24 2019, the day of the accident, to November 3rd 2019, the date
of his termination, Plaintiff was absent from work.

On November 3, 2019, Plaintiff received a termination notice from Defendant. Plaintiff
received an email stating that a customer never received his package. Plaintiff refused that
assertion claiming that he had always performed his job duties and had weekly reports to
prove it. Defendant gave insufficient explanation for Plaintiff's termination. Defendant did not
even specify the date on which the customer supposedly did not receive their package.

Plaintiff asserts that his termination was due to retaliation for his previous complaints to the
company about its refusal to cover his car loss expenses and due to his physical injuries,
that would not allow him to perform well.

On December 17, 2019, Plaintiff filed an action with a small claims court against Amazon
alleging property damages. The hearing was conducted on February 18, 2020. On March
17, 2020, Plaintiff received a favorable final judgement in the amount of $1,200.00. Even
though Plaintiff was formally employed as an independent contractor, the Court considered
the surrounding circumstances of his employment and concluded that Plaintiff must be
treated as an employee of Amazon for purposes of the Labor Code.

Because of Defendant’s wrongful conduct, Plaintiff has been suffering from sadness,
depression, anger, stress, anxiety and frustration. After the accident, Plaintiff did not have a
car for a week approximately, since Amazon refused to cover his car loss. This rendered the
performance of Plaintiff's job duties even harder.

Plaintiff has suffered both economic and non-economic damages on a continuous and
ongoing basis, including, costs, attorney’s fees and interest as a result of Amazon’s wrongful
conduct.

 

13.
Complaint —- DFEH No. 202009-11284217

Date Filed: September 24, 2020
Date Amended: February 3, 2021

 

2:21-cv-00604-SB-MRW Document 12 Filed 02/05/21 Page 41 of 42 Page ID#:1

 
Case

oOo OWN OO ON UB OULU

mm NO RS NM NW jj RW No TR wee ee ek elm ee
ao N DO oO fF WwW DB =| 80D Oo WO NN DO NO HK WO PPO =

%:21-cv-00604-SB-MRW Document12 Filed 02/05/21 Page 42 of 42 Page ID #:171

VERIFICATION

|, Gavril T. Gabriel, am the Attorney in the above-entitled complaint. | have read the
foregoing complaint and know the contents thereof. The matters alleged are based
on information and belief, which | believe to be true.

On February 3, 2021, | declare under penalty of perjury under the laws of the State of
California that the foregoing is true and correct.

Downey, CA

 

-4-
Complaint - DFEH No. 202009-11284217

Date Filed: September 24, 2020
Date Amended: February 3, 2021

 

 
